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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                 CASE NO. 1:19cv22371

 JIMMY JONES,                                                               )        [JURY DEMAND]
               Plaintiff,                                                   )
 v.                                                                         )
 JOSE NAVARRO, LUIS FRANCO,                                                 )
 TERRANCE REYNOLDS, JOSE ARAMBULA,                                          )
 DAWANNA HOLMES, JOHN DOE; all sued in their                                )
 individual capacities                                                      )
                Defendants,                                                 )

                                            COMPLAINT

        Plaintiff, JIMMY JONES, by and through counsel, files his Complaint and alleges that:

                                                 Parties

        1.      Jimmy Jones, Plaintiff, is a resident of the State of Florida and incarcerated.

        2.      Defendant Jose Navarro, at all times relevant, was employed by Florida

 Department of Corrections (sometimes referred to as “FDOC”). Navarro is a correctional officer

 with FDOC. Navarro is sued in his individual capacity.

        3.      Defendant Luis Franco, at all times relevant, was employed by FDOC. Franco is

 or was a correctional officer with FDOC. Franco is sued in his individual capacity.

        4.      Defendant Terrance Reynolds at all times relevant, was employed by FDOC.

 Reynolds is or was a correctional officer with FDOC. Reynolds is sued in his individual

 capacity.

        5.      Defendant Jose Arambula at all times relevant, was employed by FDOC.

 Arambula is or was a correctional officer with FDOC. Arambula is sued in his individual

 capacity.

        6.      Defendant, Dawanna Holmes, at all times relevant, was employed by FDOC.




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 Holmes is or was a correctional officer with FDOC. Holmes is sued in her individual capacity.

        7.        Defendant John Doe at all times relevant, was employed by FDOC. Doe is or was

 a correctional officer with FDOC. Doe is sued in his individual capacity.

        8.        All Defendants, acted under color of statute, ordinance, regulation, custom, or

 usage, of Miami-Dade and/or the State of Florida.

                                           Jurisdiction & Venue

        9.        This action is brought pursuant to 42 USC § 1983 and 1988 regarding the

 violation of Plaintiff’s rights under the Eight and Fourteenth Amendments of the United States

 Constitution.

        10.       Venue is proper because a substantial part of the events giving rise to Plaintiff’s

 claims occurred in the Southern District of Florida.

        11.       All condition precedents have been satisfied including those conditions under the

 Prison Litigation Reform Act.

                                            Statement of Facts

        12.       On February 20, 2016, Jimmy Jones, an inmate at the South Florida Reception

 Center, was being visited and eating lunch with family members. The visitation area is known as

 Visiting Park.

        13.       Jones’ mother had sunglasses. Jones placed the sunglasses on his face. Defendant

 Holmes, a correction officer, saw that Jones was wearing the sunglasses and told Jones to take

 them off. Jones quickly complied. Holmes said to Jones, “After the visit was over there would be

 a problem.”

        14.       Attempting to clarify the situation, Jones then asked Holmes to contact the shift

 captain. The shift captain was Defendant Navarro. Navarro, followed by Franco, met with both




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 Jones and Holmes in front of his family. When Navarro approached Jones and Holmes, Jones

 had a sandwich and soda in his hands from the lunch he was having with his family. Jones

 explained to Navarro what had occurred, specifically informing Navarro that he had immediately

 complied with Holmes’ directive to take off the sunglasses.

        15.     Navarro told Jones to turn around and place his hands in restraints because he

 would be taken into solitary confinement because Jones felt that Holmes was a threat. Jones then

 informed Navarro that he did not feel that Holmes was threat, but he simply wanted to inform

 Navarro what transpired.

        16.     As requested, Jones turned around and placed the soda and sandwich in the trash.

 As Jones was turning around and without warning, Navarro pepper sprayed Jones directly in his

 face and Jones became blind.

        17.     At that point, Navarro and Franco tackled Jones to ground, kneed him, kicked

 him, punched him, and physically assaulted him. At no point did Jones resist. Holmes just

 observed and did nothing to prevent the gratuitous beatdown.

        18.     The attacked lasted for ten minutes. Holmes was arm’s length away from Navarro

 and Franco’s gratuitous attacked. Again, at no point during this attack, did Jones resist the

 officers. Yet, Holmes did not do anything to prevent the gratuitous attack by Navarro and

 Franco. When Franco and Navarro were done with their attacked – as Jones laid lifeless – they

 placed Jones in restraints.

        19.     Jones, still in restraint, was then dragged out of the Visiting Park into an area

 called Sally Port 1. He was dragged out by by Franco, Reynolds, and Arambula. Doe followed

 the officers. Once Jones gets into Sally Port 1, Defendant Doe hits Jones in the face with a radio.




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         20.      Jones is violently thrown to the ground. While still on the ground with handcuffs

 and fully restrained. Doe, Franco, Reynolds, and Arambula began to repeatedly kick Jones.

 During the unprovoked assault, Jones lost three top teeth and was covered in his own blood.

 After Defendants completed their gratuitous assault, Defendants picked Jones up from the

 ground and Doe then spat on his face.

         21.      Defendants then took Jones to pre-confinement to be examine by the healthcare

 practitioners.

         22.      Due to the brutal assault, the healthcare practitioners determined that Jones was in

 no condition to be in confinement.

         23.      Jones was then placed in the infirmary until he could be transferred to a local

 hospital for further treatment. At the hospital, oral surgery was performed on Jones to remove the

 three fractured teeth from his gum.

         24.      Based on Defendants’ fabrication, Jones was placed in solitary confinement for

 three years. Jones suffered damages. These damages included but not limited to emotional,

 physical, and financial injury. Jones lost property. Jones was humiliated and embarrassed as

 result of this incident.

   COUNT I – EXCESSIVE FORCE IN VIOLATION OF THE EIGHTH AMENDMENT
                     AGAINST NAVARRO AND FRANCO
         25.      Plaintiff hereby incorporates by reference the allegations contained in paragraphs

 1-24, inclusive, as if fully herein.

         26.      Defendants Navarro and Franco violated Plaintiff’s right to be free from cruel or

 unusual punishment as secured to Plaintiff under the Eighth Amendment of the Constitution of

 the United States of America and as applied to the States under the Fourteenth Amendment.




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         27.     Defendants intentionally applied force in violation of the Eighth Amendment.

 While Jones was fully compliant and orderly, Navarro pepper sprayed Jones directly in his face

 and Jones became blind. Then, Navarro and Franco tackled Jones to ground, kneed him, kicked

 him, punched him, and physically assaulted him relentlessly. At no point did Jones resist.

         28.     This force used against Jones by Navarro and Franco was excessive.

         29.     Navarro and Franco’s conduct caused Jones’ injuries. During the unprovoked

 assault, Jones was lifeless, temporarily blind, bloodied, and bruised from the multiple kicks and

 punches lodged at him while he was not resisting.

         30.     Defendants acted under color of law.

         31.     The aforesaid acts of defendants were performed knowingly, intentionally, and

 maliciously, and/or were performed in a reckless manner with callous indifference to the health,

 safety and civil rights of the Jones, by reason of which Plaintiff is entitled to an award of

 punitive damages.

   COUNT II – EXCESSIVE FORCE IN VIOLATION OF THE EIGHTH AMENDMENT
               AGAINST DOE, FRANCO, REYNOLDS, & ARAMBULA
         32.     Plaintiff hereby incorporates by reference the allegations contained in paragraphs

 1-24, inclusive, as if fully herein.

         33.     Defendants Navarro and Franco violated Plaintiff’s right to be free from cruel or

 unusual punishment as secured to Plaintiff under the Eighth Amendment of the Constitution of

 the United States of America and as applied to the States under the Fourteenth Amendment.

         34.     Defendants intentionally applied force in violation of the Eighth Amendment.

 While Jones was in restraints and being dragged to Sally Port 1, Defendant Doe hits Jones in the

 face with a radio. Jones is violently thrown to the ground. While still on the ground with

 handcuffs and fully restrained, Doe, Franco, Reynolds, and Arambula began to repeatedly kick



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 Jones. Defendants picked Jones up from the ground and Doe then spat on his face. At no point

 did Jones resist.

         35.     This force used against Jones by Doe, Franco, Reynolds, and Arambula was

 excessive.

         36.     Doe, Franco, Reynolds, and Arambula’s conduct caused Jones’ injuries. During

 the unprovoked assault, Jones lost three top teeth and was covered in his own blood.

         37.     Defendants acted under color of law.

         38.     The aforesaid acts of defendants were performed knowingly, intentionally, and

 maliciously, and/or were performed in a reckless manner with callous indifference to the health,

 safety and civil rights of the Jones, by reason of which Plaintiff is entitled to an award of

 punitive damages.

                COUNT III – FAILURE TO INTERVENE AGAINST HOLMES
         39.     Plaintiff hereby incorporates by reference the allegations contained in paragraphs

 1-24, inclusive, as if fully herein.

         40.     Defendant Holmes violated Plaintiff’s right to be free from cruel or unusual

 punishment as secured to Plaintiff under the Eighth Amendment of the Constitution of the United

 States of America and as applied to the States under the Fourteenth Amendment.

         41.     Defendant failed to intervene when she observed the unprovoked beating by

 Franco and Navarro in violation of the Eighth Amendment. Holmes was arm’s length away from

 Navarro and Franco’s gratuitous attacked – that lasted for ten minutes. At no point during this

 attack, did Jones resist the officers. Yet, Holmes did not do anything to prevent or stop the

 gratuitous attack by Navarro and Franco despite nothing impeding her ability to intervene. When




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 Franco and Navarro were done with their attacked – as Jones laid lifeless – they placed Jones in

 restraints.

         42.      Holmes’ conduct caused Jones’ injuries. Had Holmes intervened, Jones would not

 have been lifeless, temporarily blind, bloodied, and bruised from the multiple kicks and punches

 lodged at him.

         43.      Defendant acted under color of law.

         44.      The aforesaid acts of Defendant were performed knowingly, intentionally, and

 maliciously, and/or were performed in a reckless manner with callous indifference to the health,

 safety and civil rights of the Jones, by reason of which Plaintiff is entitled to an award of

 punitive damages.

                                                    Prayer

         Plaintiff, JIMMY JONES, for each and every cause of action above demands the

 following relief, jointly and or severally, against all Defendants;

         a. Compensatory general and special damages in an amount in accordance with proof;

         b. Consequential Damages;

         c. Exemplary damages, against each and every Defendant, for intentional acts described

               above or for those done negligently or recklessly or with deliberate indifference, in an

               amount sufficient to deter the conduct of said defendants;

         d. Reasonable attorneys’ fees and expenses of litigation, including those fees permitted

               by 42 U.S.C. § 1988;

         e. Prejudgment Interests where permitted by law,

         f. Punitive Damages for the intentional conduct of individual Defendants,

         g. Costs of suit and interest accrued incurred herein; and




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       h. Other forms equitable and/or legal relief the Court deems just or proper.


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